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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


DANNY JOE HIRSCHFIELD I,                   )
                                           )
                  Plaintiff,               )
                                           )     Civil Action No. 23-02449 (UNA)
                                           )
                                           )
UNITED STATES OF AMERICA et al.,           )
                                           )
                  Defendants.              )


                                           ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that Plaintiff’s Motion for Leave to Proceed in forma pauperis, Dkt. 2, is

GRANTED; it is further

       ORDERED that the complaint and this case are DISMISSED without prejudice, and the

case is closed.

       This is a final appealable Order.



                                                 _________/s/_____________
                                                 DABNEY L. FRIEDRICH
Date: September 22, 2023                         United States District Judge
